Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 1 of 22




        Exhibit 3
                              Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 2 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000088951386 and DCN:

   Filing Information
                           Type of Report Initial Report
                                 Filing Date 07/06/2016
                           Received Date 07/06/2016
                                 Entry Date 07/07/2016
                  Submission Method Electronic batch filing


   Person(s) Involved in Transaction(s)
 Person Involved in Transaction 1 of 1 : GUERTIN
                Person Involved Type Person conducting transaction on own behalf
             Individual/Organization Individual
                 Last(or Entity) Name GUERTIN
                                First Name PAUL
                             Middle Initial M
                                      Gender Male
                              Date of Birth
                                   SSN/ITIN
            Form(s) of Identification




                               Address(es)




                          Phone Number
                        Cash In Amount $0
                      Cash Out Amount $18,675
     Account Number(s) for Cash
                   Out Amount


                                                                                                  Page 1
The enclosed information was collected and disseminated under provisions of the Bank Secrecy Act (the BSA) and U.S. Department of the Treasury regulations implementing the BSA. See 31 U.S.C.
5311, et seq.; 31 CFR Chapter X. The information is sensitive in nature and is to be treated accordingly. The information may be used only for a purpose consistent with a criminal, tax, or regulatory
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                              Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 3 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000088951386 and DCN:
   Amount and Type of Transaction(s)
                       Transaction Date 06/25/2016
                          Total Cash Out $18,675
                         Cash Out Types               Redemption(s) of casino $18,675
                                                            chips, tokens, TITO
                                                     tickets, and other gaming
                                                                    instruments


   Activity Location
                                          Role Transaction location business
         Primary Federal Regulator IRS
            Legal Name of Financial LAS VEGAS SANDS, LLC
                        Institution
                 Alternate Name/DBA THE VENETIAN | THE PALAZZO
                                            EIN
                                    Address                             Address Type Address where transaction occurred
                                                                      Street Address 3355 LAS VEGAS BLVD. SOUTH
                                                                                                3355 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced
                                                                               ZIP Code 891098902
                                                                                                89109-8941 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
      Type of Financial Institution                               Casino/Card club State licensed casino


   Filer Location
         Primary Federal Regulator IRS
            Legal Name of Financial LAS VEGAS SANDS, LLC
                        Institution
                                            EIN
                                    Address                             Address Type Reporting party address
                                                                      Street Address 3355 LAS VEGAS BLVD. SOUTH
                                                                                                3355 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced


                                                                                                  Page 2
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                              Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 4 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000088951386 and DCN:
   Filer Location
                                                                               ZIP Code 891098902
                                                                                                89109-8941 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
               Contact Person/Office
                          Phone Number
                   Reviewer Signature




                                                                                                  Page 3
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                              Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 5 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000037913638 and DCN:

   Filing Information
                           Type of Report Initial Report
                                 Filing Date 12/11/2013
                           Received Date 12/11/2013
                                 Entry Date 12/12/2013
                  Submission Method Electronic batch filing


   Person(s) Involved in Transaction(s)
 Person Involved in Transaction 1 of 1 : GUERTIN
                Person Involved Type Person conducting transaction on own behalf
             Individual/Organization Individual
                 Last(or Entity) Name GUERTIN
                                First Name PAUL
                                      Gender Unknown
                              Date of Birth
                                   SSN/ITIN
            Form(s) of Identification




                               Address(es)




 Account Number(s) for Cash In
                      Amount
     Account Number(s) for Cash
                   Out Amount




                                                                                                  Page 1
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                              Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 6 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000037913638 and DCN:
   Amount and Type of Transaction(s)
                       Transaction Date 11/27/2013
                          Total Cash Out $20,200
                         Cash Out Types               Redemption(s) of casino $19,200
                                                            chips, tokens, TITO
                                                     tickets, and other gaming
                                                                    instruments
                                                             Advance(s) on credit $1,000
                                                              (including markers)


   Activity Location
                                          Role Transaction location business
         Primary Federal Regulator IRS
            Legal Name of Financial LAS VEGAS SANDS LLC
                        Institution
                 Alternate Name/DBA VENETIAN/PALAZZO
                                            EIN
                                    Address                             Address Type Address where transaction occurred
                                                                      Street Address 3355 LAS VEGAS BLVD SOUTH
                                                                                                3355 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced
                                                                               ZIP Code 891098902
                                                                                                89109-8941 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
      Type of Financial Institution                               Casino/Card club State licensed casino


   Filer Location
         Primary Federal Regulator IRS
            Legal Name of Financial LAS VEGAS SANDS LLC
                        Institution
                                            EIN
                                    Address                             Address Type Reporting party address
                                                                      Street Address 3355 LAS VEGAS BLVD SOUTH
                                                                                                3355 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced


                                                                                                  Page 2
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                              Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 7 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000037913638 and DCN:
   Filer Location
                                                                                    State NV
                                                                                                NV - Enhanced
                                                                               ZIP Code 891098902
                                                                                                89109-8941 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
               Contact Person/Office
                          Phone Number
                   Reviewer Signature




                                                                                                  Page 3
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                              Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 8 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030417125 and DCN:

   Filing Information
                           Type of Report Initial Report
                                 Filing Date 07/15/2013
                           Received Date 07/15/2013
                                 Entry Date 07/18/2013
                  Submission Method Electronic batch filing


   Person(s) Involved in Transaction(s)
 Person Involved in Transaction 1 of 1 : GUERTIN
                Person Involved Type Person conducting transaction on own behalf
             Individual/Organization Individual
               Multiple Transactions Yes
                 Last(or Entity) Name GUERTIN
                                First Name PAUL
                                      Gender Male
                              Date of Birth
                            TIN Unknown
                                   TIN Type
            Form(s) of Identification




                               Address(es)




                        Cash In Amount $10,300
 Account Number(s) for Cash In
                      Amount



                                                                                                  Page 1
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                              Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 9 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030417125 and DCN:
   Amount and Type of Transaction(s)
                       Transaction Date 07/05/2013
                             Total Cash In $10,300
                           Cash In Types             Other cash in: WSOP BUY $1,500
                                                                          IN
                                                              Currency wager(s) $8,800
                                                        (including money plays)


   Activity Location
                                          Role Transaction location business
         Primary Federal Regulator IRS
            Legal Name of Financial RIO PROPERTIES, INC
                        Institution
                 Alternate Name/DBA RIO SUITE HOTEL & CASINO
                                            EIN
                                    Address                             Address Type Address where transaction occurred
                                                                      Street Address 3700 W. FLAMINGO ROAD
                                                                                                3700 W FLAMINGO RD - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced
                                                                               ZIP Code 89103
                                                                                                89103-4043 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
      Type of Financial Institution                               Casino/Card club State licensed casino


   Filer Location
         Primary Federal Regulator IRS
            Legal Name of Financial RIO PROPERTIES, INC
                        Institution
                                            EIN
                                    Address                             Address Type Reporting party address
                                                                      Street Address 3700 W. FLAMINGO ROAD
                                                                                                3700 W FLAMINGO RD - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced

                                                                                                  Page 2
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 10 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030417125 and DCN:
   Filer Location
                                                                               ZIP Code 89103
                                                                                                89103-4043 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
               Contact Person/Office
                          Phone Number
                   Reviewer Signature




                                                                                                  Page 3
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 11 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030437270 and DCN:

   Filing Information
                           Type of Report Initial Report
                                 Filing Date 07/15/2013
                           Received Date 07/15/2013
                                 Entry Date 07/18/2013
                  Submission Method Electronic batch filing


   Person(s) Involved in Transaction(s)
 Person Involved in Transaction 1 of 1 : GUERTIN
                Person Involved Type Person conducting transaction on own behalf
             Individual/Organization Individual
               Multiple Transactions Yes
                 Last(or Entity) Name GUERTIN
                                First Name PAUL
                                      Gender Male
                              Date of Birth
                            TIN Unknown
                                   TIN Type
            Form(s) of Identification




                               Address(es)




                      Cash Out Amount $16,279
     Account Number(s) for Cash
                   Out Amount



                                                                                                  Page 1
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 12 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030437270 and DCN:
   Amount and Type of Transaction(s)
                       Transaction Date 07/06/2013
                          Total Cash Out $16,279
                         Cash Out Types               Payment(s) on wager(s)/ $16,279
                                                         bet(s) (Including race
                                                      book, slot jackpot(s) and
                                                           OTB or sports pool)


   Activity Location
                                          Role Transaction location business
         Primary Federal Regulator IRS
            Legal Name of Financial RIO PROPERTIES, INC
                        Institution
                 Alternate Name/DBA RIO SUITE HOTEL & CASINO
                                            EIN
                                    Address                             Address Type Address where transaction occurred
                                                                      Street Address 3700 W. FLAMINGO ROAD
                                                                                                3700 W FLAMINGO RD - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced
                                                                               ZIP Code 89103
                                                                                                89103-4043 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
      Type of Financial Institution                               Casino/Card club State licensed casino


   Filer Location
         Primary Federal Regulator IRS
            Legal Name of Financial RIO PROPERTIES, INC
                        Institution
                                            EIN
                                    Address                             Address Type Reporting party address
                                                                      Street Address 3700 W. FLAMINGO ROAD
                                                                                                3700 W FLAMINGO RD - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced


                                                                                                  Page 2
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 13 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030437270 and DCN:
   Filer Location
                                                                               ZIP Code 89103
                                                                                                89103-4043 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
               Contact Person/Office
                          Phone Number
                   Reviewer Signature




                                                                                                  Page 3
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 14 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030444734 and DCN:

   Filing Information
                           Type of Report Initial Report
                                 Filing Date 07/15/2013
                           Received Date 07/16/2013
                                 Entry Date 07/18/2013
                  Submission Method Electronic batch filing


   Person(s) Involved in Transaction(s)
 Person Involved in Transaction 1 of 1 : GUERTIN
                Person Involved Type Person conducting transaction on own behalf
             Individual/Organization Individual
               Multiple Transactions Yes
                 Last(or Entity) Name GUERTIN
                                First Name PAUL
                                      Gender Unknown
                              Date of Birth
                                   SSN/ITIN
            Form(s) of Identification




                               Address(es)




                          Phone Number
                                         Email
                        Cash In Amount $12,500
 Account Number(s) for Cash In
                      Amount


                                                                                                  Page 1
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 15 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030444734 and DCN:
   Amount and Type of Transaction(s)
                       Transaction Date 07/03/2013
                             Total Cash In $12,500
                           Cash In Types                      Currency wager(s) $9,500
                                                        (including money plays)
                                                          Purchase(s) of casino $3,000
                                                        chips, tokens, and other
                                                            gaming instruments


   Activity Location
                                          Role Transaction location business
         Primary Federal Regulator IRS
            Legal Name of Financial ARIA RESORT & CASINO HOLDINGS LLC.
                        Institution
                 Alternate Name/DBA ARIA RESORT & CASINO
                                            EIN
                                    Address                             Address Type Address where transaction occurred
                                                                      Street Address 3730 LAS VEGAS BLVD SOUTH
                                                                                                3730 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced
                                                                               ZIP Code 89158
                                                                                                89158-4300 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
      Type of Financial Institution                               Casino/Card club State licensed casino


   Filer Location
         Primary Federal Regulator IRS
            Legal Name of Financial ARIA RESORT & CASINO HOLDINGS LLC.
                        Institution
                                            EIN
                                    Address                             Address Type Reporting party address
                                                                      Street Address 3730 LAS VEGAS BLVD SOUTH
                                                                                                3730 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV


                                                                                                  Page 2
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 16 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030444734 and DCN:
   Filer Location
                                                                                                NV - Enhanced
                                                                               ZIP Code 89158
                                                                                                89158-4300 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
               Contact Person/Office
                          Phone Number
                   Reviewer Signature




                                                                                                  Page 3
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 17 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030229516 and DCN:

   Filing Information
                           Type of Report Initial Report
                                 Filing Date 07/11/2013
                           Received Date 07/12/2013
                                 Entry Date 07/15/2013
                  Submission Method Electronic batch filing


   Person(s) Involved in Transaction(s)
 Person Involved in Transaction 1 of 1 : GUERTIN
                Person Involved Type Person conducting transaction on own behalf
             Individual/Organization Individual
                 Last(or Entity) Name GUERTIN
                                First Name PAUL
                                      Gender Unknown
                              Date of Birth
                                   SSN/ITIN
            Form(s) of Identification




                               Address(es)




                          Phone Number
                                         Email
                      Cash Out Amount $11,723
     Account Number(s) for Cash
                   Out Amount



                                                                                                  Page 1
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                                                                              BCTR Transcript
                                                                       BSA: 31000030229516 and DCN:
   Amount and Type of Transaction(s)
                       Transaction Date 07/02/2013
                          Total Cash Out $11,723
                         Cash Out Types               Payment(s) on wager(s)/ $11,723
                                                         bet(s) (Including race
                                                      book, slot jackpot(s) and
                                                           OTB or sports pool)


   Activity Location
                                          Role Transaction location business
         Primary Federal Regulator IRS
            Legal Name of Financial ARIA RESORT & CASINO HOLDINGS LLC.
                        Institution
                 Alternate Name/DBA ARIA RESORT & CASINO
                                            EIN
                                    Address                             Address Type Address where transaction occurred
                                                                      Street Address 3730 LAS VEGAS BLVD SOUTH
                                                                                                3730 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced
                                                                               ZIP Code 89158
                                                                                                89158-4300 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
      Type of Financial Institution                               Casino/Card club State licensed casino


   Filer Location
         Primary Federal Regulator IRS
            Legal Name of Financial ARIA RESORT & CASINO HOLDINGS LLC.
                        Institution
                                            EIN
                                    Address                             Address Type Reporting party address
                                                                      Street Address 3730 LAS VEGAS BLVD SOUTH
                                                                                                3730 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced


                                                                                                  Page 2
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 19 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000030229516 and DCN:
   Filer Location
                                                                               ZIP Code 89158
                                                                                                89158-4300 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
               Contact Person/Office
                          Phone Number
                   Reviewer Signature




                                                                                                  Page 3
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 20 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000029941825 and DCN:

   Filing Information
                           Type of Report Initial Report
                                 Filing Date 07/05/2013
                           Received Date 07/05/2013
                                 Entry Date 07/09/2013
                  Submission Method Electronic batch filing


   Person(s) Involved in Transaction(s)
 Person Involved in Transaction 1 of 1 : GUERTIN
                Person Involved Type Person conducting transaction on own behalf
             Individual/Organization Individual
                 Last(or Entity) Name GUERTIN
                                First Name PAUL
                             Middle Initial M
                                      Gender Unknown
                              Date of Birth
                                   SSN/ITIN
            Form(s) of Identification




                               Address(es)




                        Cash In Amount $0
                      Cash Out Amount $16,894


   Amount and Type of Transaction(s)
                       Transaction Date 07/01/2013

                                                                                                  Page 1
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                             Case 1:21-cr-00262-TNM Document 25-3 Filed 11/15/21 Page 21 of 22




                                                                              BCTR Transcript
                                                                       BSA: 31000029941825 and DCN:
   Amount and Type of Transaction(s)
                          Total Cash Out $16,895
                         Cash Out Types                                Withdrawal(s) $16,895


   Activity Location
                                          Role Transaction location business
         Primary Federal Regulator IRS
            Legal Name of Financial CANTOR G&W (NEVADA), L.P.
                        Institution
                 Alternate Name/DBA VENETIAN/PALAZZO
                                            EIN
                                    Address                             Address Type Address where transaction occurred
                                                                      Street Address 3355 LAS VEGAS BLVD. SOUTH
                                                                                                3355 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced
                                                                               ZIP Code 89109
                                                                                                89109-8941 - Enhanced
                                                                                Country
                                                                                                US - Enhanced
      Type of Financial Institution                               Casino/Card club State licensed casino
                           RSSD Number 2468


   Filer Location
         Primary Federal Regulator IRS
            Legal Name of Financial CANTOR G&W (NEVADA), L.P.
                        Institution
                                            EIN
                                    Address                             Address Type Reporting party address
                                                                      Street Address 3355 LAS VEGAS BLVD. SOUTH
                                                                                                3355 LAS VEGAS BLVD S - Enhanced
                                                                                       City LAS VEGAS
                                                                                                LAS VEGAS - Enhanced
                                                                                    State NV
                                                                                                NV - Enhanced
                                                                               ZIP Code 89109
                                                                                                89109-8941 - Enhanced


                                                                                                  Page 2
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                                                                              BCTR Transcript
                                                                       BSA: 31000029941825 and DCN:
   Filer Location
                                                                                Country
                                                                                                US - Enhanced
               Contact Person/Office
                          Phone Number
                   Reviewer Signature




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